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         EXHIBIT 19
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                     Subject: Re: Singles Day
                       From: "Brian Lu" <                     >
                Received(Date): Mon, 12 Nov 2018 14:07:05 +0000
                          To: "Tim Cook" <                   >
                          Cc: "Brian Lu" <                       >, "Mike Fenger"
                                <                 >,"Kevan Parekh" <                      >
                        Date: Mon, 12 Nov 2018 14:07:05 +0000

               Tim,

               We did well.

               The “single day”now run from 11.1 to 11.11, 11 days. It was close by 12am today, about
               21 hours ago.

               Both Alibaba and JD are closed today, everyone went to sleep after many days work,
               we will have full report tomorrow morning.

               According to the prelim booking data from both Ali and JD, we did well on iPhone,
               continue to rank number one in terms of revenue. Comparing with our forecast, Max, s
               are on schedule, r and X are better, sustaining models are off a little, overall iPhone are
               on schedule. Since all the delivery will take place in the next 7 days, the UB numbers
               will come in the next few days.

               According to the media, Ali reached 215 billion RMB and JD reached 150 billion AMB,
               both companies claimed to meet their targets.

               We scheduled a review with Mike tomorrow once we have more accurate data.Re,
               Brian

               > On Nov 12, 2018, at 9:19 PM, Tim Cook <                       > wrote:
               >
               > How did we do?
               >
               > Sent from my iPad Pro




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